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Attorneys for Plaintiff Hudson Insurance Company



                         UNITED STATES DISTRICT COURT

                               DISTRICT OF OREGON

                                PORTLAND DIVISION
HUDSON INSURANCE COMPANY, a
Delaware corporation,
                                                   Case No. 3:18-cv-00622-MO
                                  Plaintiff,
                                                   STIPULATED MOTION FOR ORDER
       v.                                          TO WITHDRAW FUNDS AND
                                                   DISBURSE
VOLANTE MOTORS, LLC, an Oregon limited             (Interest Bearing Account–
liability company; VINCENT MCKOWEN, an             Interpleader)
individual; UNITED FINANCE CO., an Oregon
corporation; UNITED AUTO CREDIT                    Pursuant to LR 67-3(a)
CORPORATION, a California corporation;
CIG FINANCIAL, LLC, a California limited
liability company; LOBEL FINANCIAL
CORPORATION, a California corporation; and
TRAILHEAD FEDERAL CREDIT UNION, an
Oregon corporation,

                              Defendants.



       Pursuant to LR 67-3(a), all appearing parties move the Court for an Order to
Withdraw Funds and Disburse. In support of this motion, the parties rely upon the
below supporting memorandum, the proposed form of order submitted herewith and the
case record on file.
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WITHDRAW FUNDS AND DISBURSE
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                               SUPPORTING MEMORANDUM

       LR 67-3(a) provides that: “Upon motion or stipulation, the Court may order that
funds be withdrawn from the registry of the Court for redeposit or disbursement.” The
parties to this matter are entitled to an Order that funds in the amounts set forth in the
Proposed Order filed herewith, be withdrawn from the registry of the Court for
disbursement.
       First, all appearing parties stipulate that funds shall be disbursed from the
proceeds of the Motor Vehicle Dealer’s Surety Bond No. 10046713 (the “Bond”) to
Trailhead Federal Credit Union (“TFCU”) in the amount of $12,926.78.
       Second, pursuant to the Order of Interpleader (Dkt. 35) (the “Order of
Interpleader”), filed on June 26, 2018, and granted on June 29, 2018 (Dkt. 35), funds in
the amount of $3,125.00 shall be disbursed to Hudson as follows:
       Hudson shall be allowed to recover from the Bond Proceeds the sum of
       $3,125.00, as costs and attorney fees reasonably incurred in connection
       with this interpleader action.

Order of Interpleader (Dkt. 35) at 2.
       Third, pursuant to the Order of Interpleader, as the amounts disbursed to the
defendants to the interpleader action are less than the Bond proceeds tendered to the
Court, funds in the amount of $23,948.22 shall be disbursed to Hudson. Order of
Interpleader (Dkt. 35) at 3.
       In summary, the appearing parties stipulate to the following disbursement of
funds deposited with the Court: (i) $12,926.78 to TFCU; and (ii) $27,073.22 to Hudson
($3,125.00 plus $23,948.22).
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WITHDRAW FUNDS AND DISBURSE
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                                     CONCLUSION

      For the foregoing reasons, the parties request that the Court enter the Proposed
Order submitted with this motion to withdraw and disburse bond funds previously
deposited with the Clerk of the Court in the amounts set forth therein.


      DATED this 6th day of July, 2018.


IT IS SO STIPULATED:

 Stewart Sokol & Larkin LLC                   Lobel Financial Corporation


 By: s/ Jan D. Sokol__________________        By: s/ Ron Green_________________
     Jan D. Sokol, OSB #780873                    Ron Green
     jdsokol@lawssl.com                           RGreen@LobelFinancial.com
     Attorneys for Plaintiff                      Senior Counsel and Authorized Agent
     Hudson Ins. Co.                              for Defendant Lobel Financial
                                                  Corporation


 Scarborough McNeese Oelke &
 Kilkenny PC


 By: s/ Peter C. McCord_______________
     Peter C. McCord, OSB # 721570
     Email: pcm@smoklaw.com
     Attorneys for Trailhead Federal
     Credit Union




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WITHDRAW FUNDS AND DISBURSE
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                            CERTIFICATE OF SERVICE

      I hereby certify that I served the foregoing STIPULATED MOTION FOR ORDER
TO WITHDRAW FUNDS AND DISBURSE on:
Mr. Ron Green                                Mr. Peter C. McCord
Lobel Financial Corporation                  Scarborough McNeese Oelke &
1150 N. Magnolia Avenue                      Kilkenny PC
Anaheim, CA 92801-2604                       5 Centerpointe Drive, Suite 240
Email: rgreen@lobelfinancial.com             Lake Oswego, OR 97035
Senior Counsel and Authorized Agent for      Email: pcm@smoklaw.com
Defendant Lobel Financial Corporation        Attorneys for Trailhead Federal Credit
                                             Union

by the following indicated method or methods:

  ___      by mailing a full, true and correct copy thereof in a sealed, first-class
            postage-paid envelope, and addressed to the attorney as shown above, the
            last-known office address of the attorney, and deposited with the United
            States Postal Service at Portland, Oregon on the date set forth below.

      DATED this 6th day of July, 2018.

                                          STEWART SOKOL & LARKIN LLC


                                          By: s/ Jan D. Sokol
                                              Jan D. Sokol, OSB #780873
                                              jdsokol@lawssl.com
                                              Attorneys for Plaintiff Hudson Insurance
                                              Company




CERTIFICATE OF SERVICE - 1                                          STEWART SOKOL & LARKIN LLC
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